            Case 2:17-cv-00843-SU       Document 70   Filed 08/17/18   Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON



GREATER HELLS CANYON COUNCIL,                    Case No. 2:17-cv-00843-SU
an Oregon nonprofit corporation; and
OREGON WILD, an Oregon nonprofit                 ORDER
corporation,

                Plaintiffs,

       v.

DISTRICT RANGER KRIS STEIN, in her
official capacity as District Ranger of the
Eagle Cap Ranger District, Wallowa-
Whitman National Forest; and UNITED
STATES FOREST SERVICE, an agency of
the United States Department of
Agriculture,

                Defendants,

       and

WALLOWA COUNTY, a political
subdivision of the State of Oregon,

                Intervenor-Defendant.




PAGE 1 – ORDER
         Case 2:17-cv-00843-SU        Document 70       Filed 08/17/18     Page 2 of 2




Michael H. Simon, District Judge.

       United States Magistrate Judge Patricia Sullivan issued Findings and Recommendations

in this case on June 11, 2018. ECF 63. Judge Sullivan recommended that the Court deny

Plaintiffs’ Motion for Summary Judgment, grant Defendants’ Cross Motion for Summary

Judgment, grant Intervenor-Defendant’s Cross Motion for Summary Judgment, and strike

Plaintiffs’ extra-record evidence. Under the Federal Magistrates Act (“Act”), the Court “may

accept, reject, or modify, in whole or in part, the findings or recommendations made by the

magistrate judge.” 28 U.S.C. § 636(b)(1).

       Plaintiffs filed a timely objection, and Defendants and Defendant-Intervenor timely

responded. As required by Rule 72(b)(3) of the Federal Rules of Civil Procedure, the Court made

a de novo determination regarding those portions of the Findings and Recommendations of the

Magistrate Judge to which objections were made. The Court ADOPTS Judge Sullivan’s Findings

and Recommendations (ECF 63). Accordingly, Plaintiffs’ Motion for Summary Judgment

(ECF 27) is DENIED, Defendants’ Cross Motion for Summary Judgment (ECF 38) is

GRANTED, Defendant-Intervenor’s Cross Motion for Summary Judgment (ECF 39) is

GRANTED, and Plaintiffs’ extra-record evidence is STRICKEN.

       IT IS SO ORDERED.

       DATED this 17th day of August, 2018.

                                                    /s/ Michael H. Simon
                                                    Michael H. Simon
                                                    United States District Judge




PAGE 2 – ORDER
